Case 8:07-cr-00372-JSM-TGW Document 117 Filed 09/29/10 Page 1 of 5 PageID 204
Case 8:07-cr-00372-JSM-TGW Document 117 Filed 09/29/10 Page 2 of 5 PageID 205
Case 8:07-cr-00372-JSM-TGW Document 117 Filed 09/29/10 Page 3 of 5 PageID 206
Case 8:07-cr-00372-JSM-TGW Document 117 Filed 09/29/10 Page 4 of 5 PageID 207
Case 8:07-cr-00372-JSM-TGW Document 117 Filed 09/29/10 Page 5 of 5 PageID 208
